            Case: 2:08-cv-00536-JDH-NMK Doc #: 50 Filed: 03/19/09 Page: 1 of 4 PAGEID #: 409




                                   IN THE UNITED STATES DISTRICT COURT
                                    FOR THE SOUTHERN DISTRICT OF OHIO
                                             EASTERN DIVISION

            HARRY WINSTON, INC. et al.,                          )
                                                                 )
                                          Plaintiffs,            )      Case No. 2:08 CV 536
                                                                 )
                   vs.                                           )      JUDGE HOLSCHUH
                                                                 )
            CHARLES WINSTON LUXURY GROUP                         )      Magistrate Judge King
            LLC, et al.,                                         )
                                                                 )
                                          Defendants.            )

             PLAINTIFFS’ UNOPPOSED MOTION TO FILE MEMORANDUM IN OPPOSITION
             TO DEFENDANTS CHARLES WINSTON LUXURY GROUP LLC AND LP WATCH
             GROUP INC.’S MOTION TO DISMISS OR TRANSFER FOR LACK OF PERSONAL
                JURISDICTION INSUFFICIENCY OF PROCESS AND IMPROPER VENUE
                                  DOCKET (#48) UNDER SEAL

                   Plaintiffs Harry Winston, Inc. and Harry Winston S.A. (HW), by and through

            undersigned counsel, respectfully moves this Court for an order allowing it to file the Plaintiffs’

            Memorandum in Opposition to Defendants Charles Winston Luxury Group LLC and LP Watch

            Group Inc.’s Motion to Dismiss or Transfer for Lack of Personal Jurisdiction Insufficiency of

            Process and Improper Value (Dkt. #48) under seal.

                   The Plaintiffs’ Memorandum was originally filed on March 12, 2009 via the Court’s

            electronic filing system and was not filed under seal. The parties have conferred and would like

            to assert confidentiality pursuant to the agreed protective order dated February 3, 2009 (Dkt

            #43). Therefore both parties wish to file the Plaintiffs’ Memorandum under seal.

            Dated: March 19, 2009                                Respectfully submitted,



                                                              /s/ Joseph R. Dreitler       ________
                                                              Joseph R. Dreitler (0012441), Trial Attorney
                                                              Mary R. True (0046880)



3025939v1
            Case: 2:08-cv-00536-JDH-NMK Doc #: 50 Filed: 03/19/09 Page: 2 of 4 PAGEID #: 410




                                                       Bricker & Eckler LLP
                                                       100 South Third Street
                                                       Columbus, Ohio 43215
                                                       Telephone: (614) 227-2365
                                                       Facsimile: (614) 227-2390
                                                       Email: jdreitler@bricker.com
                                                       Email: mtrue@bricker.com

                                                       Attorneys for Plaintiffs Harry Winston, Inc. and
                                                       Harry Winston SA




                                                   2
3025939v1
            Case: 2:08-cv-00536-JDH-NMK Doc #: 50 Filed: 03/19/09 Page: 3 of 4 PAGEID #: 411




                                            CERTIFICATE OF SERVICE
                                                                         th
                   The foregoing document was filed and served this 19 day of March, 2009, upon counsel

            of record via the Court’s electronic filing and notification system. Copies of this document may

            be accessed through the Court’ s electronic filing system.



                                                                         /s/ Mary R. True
                                                                         Mary R. True




                                                            3
3025939v1
            Case: 2:08-cv-00536-JDH-NMK Doc #: 50 Filed: 03/19/09 Page: 4 of 4 PAGEID #: 412




                                   IN THE UNITED STATES DISTRICT COURT
                                    FOR THE SOUTHERN DISTRICT OF OHIO
                                             EASTERN DIVISION

            HARRY WINSTON, INC. et al.,                          )
                                                                 )
                                          Plaintiffs,            )      Case No. 2:08 CV 536
                                                                 )
                   vs.                                           )      JUDGE HOLSCHUH
                                                                 )
            CHARLES WINSTON LUXURY GROUP                         )      Magistrate Judge King
            LLC, et al.,                                         )
                                                                 )
                                          Defendants.            )

                                     ORDER AND ENTRY GRANTING
                                MOTION TO FILE PLAINTIFFS MEMORANDUM
                                              UNDER SEAL

                   Plaintiffs Harry Winston, Inc. and Harry Winston, S.A. (“HW”) have moved for an order

            sealing the filing of certain documents to be filed with this Court. Specifically, HW has

            requested that it be given permission to have its Memorandum in Opposition to Defendants

            Charles Winston Luxury Group LLC and LP Watch Group Inc.’s Motion to Dismiss or Transfer

            for Lack of Personal Jurisdiction Insufficiency of Process and Improper Value filed under seal.

                   IT IS HEREBY ORDERED that Plaintiffs’ Memorandum in Opposition to Defendants

            Charles Winston Luxury Group LLC and LP Watch Group Inc.’s Motion to Dismiss or Transfer

            for Lack of Personal Jurisdiction Insufficiency of Process and Improper Value shall be filed

            under seal.




            Date: ________________                       _____________________________
                                                         Judge Holschuh




                                                            4
3025939v1
